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MPP/JKMcD:2017R00521
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT QE' MARYLAND

 UNITED STATES OF AMERICA
                                                         CRIMINAL NO. 1:21-cr-00090-SAG
 v.
                                                         (18 U.S.C. § 371, Conspiracy to Commit
 WILLIAM PATRICK MITCHELL and                            Offenses Against the United States; 18
 WAYNE I. KACHER, JR.,                                   U.S.C. §§ 1343, 1346, Honest Serv ices Wire
                                                         Fraud; 18 U.S.C. § 666(a)(1)(B), (a)(2),
          Defendants.                                    Bribery Concerning Programs Receiving
                                                         Federal Funds; 18 U.S.C. § 666(a)(1)(A),
                                                         Theft Concerning Programs Receiving
                                                         Federal Funds; Forfeiture, 18 U.S.C.
                                                         § 981(a)(1)(C), 28 U.S.C. § 2461(c))



                                   SUPERSEDING INDICTMENT

         The Grand Jury for the District of Maryland charges that:

                                            COUNT 1
                       Conspiracy to Commit Offenses Against the United States

                                            Introduction

                   At all times relevant to this Superseding Indictment, Defendant WILLIAM

PATRICK MITCHELL (“MITCHELL”) was a resident of Cambridge, Maryland.

MITCHELL also owned a home in Sarasota. Florida.

         2.        In 2006, the Maryland Broadband Cooperative, Incorporated (“MdBC”) was

created by legislative intent by the Maryland General Assembly with the directed purpose of

working with internet service providers to offer broadband internet service to both under-served

and un-served areas all across Maryland. MdBC is a not-for-profit corporation that is governed

by a board of directors. For a fee. public and private entities can join the cooperative and gain
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access to the fiber optic cable infrastructure that MdBC has installed to provide improved internet

service throughout the Eastern Shore of Maryland and the rest of the state.

        3.     Initially, MdBC's primary source of income was public funding provided by the

federal government and the State of Maryland. As MdBC grew, it began earning more private

income from customers who paid to access the broadband infrastructure that it had installed.

       4.      MdBC's office is located at 2129A Northwood Drive, Salisbury, Maryland 21801.

       5.      MdBC maintained bank accounts at M&T Bank (accounts ending in xl664 and

x9149), Hebron Bank (accounts ending in x5801 and x7801), and Provident State Bank (account

ending in x5699). MdBC also maintained a line of credit w ith Hebron Bank.

       6.      Beginning in 2006. MITCHELL worked as a construction manager for MdBC,

and in March 2009, the Board of Directors promoted MITCHELL to President and Chief

Executive Officer ('"CEO").     MITCHELL’S annual salary as President and CEO began at

$167,532.22 in 2009 and grew to $228,659.00 by 2018. The Board of Directors also typically

awarded MITCHELL an annual bonus, which was around 20 percent of his salary.

       7.      As President and CEO of MdBC. MITCHELL was a fiduciary of MdBC and owed

MdBC a duty of loyalty to conduct its business for the benefit of MdBC and to advance its interests.

       8.      MITCHELL maintained a personal bank account at M&T Bank (account ending

in x3748).

       9.      At all times relevant to this Superseding Indictment, defendant WAYNE I.

KACHER, JR., ("KACHER") was the president and owner of Bel Air Underground Services,

Inc. (“BAU”). BAU was an underground utility company that specialized in the construction of

new fiberoptic and electrical infrastructure. BAU was principally located at 725 Pulaski Highway,

Joppatowne, Maryland 21085.



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        10.    At all times relevant to this Superseding Indictment, KACHER was a resident of

Harford County. Maryland.

        11.    BAD frequently served as a subcontractor on projects for MdBC.

        12.    BAD maintained bank accounts at M&T Bank (accounts ending x8534 and x5867).

and First National Bank (accounts ending in x4207 and x3009).

        13.    KACHER was also the president and owner of Pro Comm Engineering & Locating

Services, LLC (“Pro Comm"). Pro Comm specialized in underground utility and communications

infrastructure locating. Pro Comm was principally located at 725 Pulaski Highway, Joppatowne.

Maryland 21085. Pro Comm also acted as a subcontractor on projects for MdBC.

                                  The Cooperative Agreement

        14.     On the western shore of the Chesapeake Bay, the United States Navy (hereafter

“Navy”) maintains the Patuxent River Naval Air Station (hereafter “Pax River”) in St. Mary's

County, Maryland. Pax River hosts, among other tenants, the Naval Air Warfare Center Aircraft

Division (“NAWCAD”).        NAWCAD's mission is to provide research, development, testing.

evaluation and sustainment for all Navy and Marine Corps aircraft systems.

        15.    The Atlantic Test Ranges (“ATR”) of the NAWCAD provide the open air range

environment in support of the Navy's principal research, development, test and evaluation for

Naval aircraft, engines, avionics, aircraft support systems and ship/shore air operations. Beet

readiness training and experimentation.

        16.    The United States National Aeronautics and Space Administration (“NASA”)

maintains a facility on Wallops Island, Virginia, which is located on the Eastern Shore of Virginia.

ATR maintains a partnership with NASA's Wallops Island wherein the Wallops airfield provides

target launch facilities, refueling capabilities, and a communications and telemetry relay back to



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the ATR control room at Pax River for easy data exchange and test monitoring. By partnering with

NASA at Wallops, ATR extends its range capabilities into the Mid-Atlantic operating areas.

        17.    On September 26, 2008, NAWCAD entered into a cooperative agreement with

MdBC “for the deployment of technology supporting infrastructure; specifically world-class

broadband networks across the rural communities of Eastern, Southern and Western Maryland.”

Cooperative Agreement.       Award/Contract     N00421-08-2-00      01   (hereafter “Fiber     Optic

Agreement”). The Fiber Optic Agreement stated that NAWCAD and MdBC had overlapping

goals - MdBC sought to build-out broadband networks throughout the Eastern Shore of Maryland.

and NAW'CAD sought to install a fiber optic broadband connection from NASA Wallops Island

to Pax River to enhance the communications capacity between those locations. Through the Fiber

Optic Agreement. NAWCAD and the Navy agreed to fund MdBC's installation of fiber optic cable

from NASA Wallops Island to NAWCAD - a project that the parties referred to as the “Pax River

Project.” MdBC would also be able to use that fiber optic cable and accompanying infrastructure

to provide broadband internet access to customers on the Eastern Shore.

        18.    Cooperative agreements for the Department of Defense and aimed services are

governed by the Department of Defense Grant and Agreement Regulations.                  Cooperative

agreements are similar to grants in that they fund or stimulate a public purpose, but unlike a grant.

cooperative agreements involve ongoing management from the federal government. See 31 U.S.C.

§ 6305; 32 C.F.R. §21.640.

        19.    The Pax River Project was divided into the following phases and milestones:




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   Phase I, Land Segment 1 -     Wallops to Westover Duct only - Completed
   Phase II, Land Segment 2 -    Wallops to Cambridge -Completed
   Phase II, Land Segment 3 -    Westover to Fairmont Tower Site - Completed
   Phase III/IY, Milestone I —   Environmental Engineering Chesapeake Bay Crossing,
   Phase III, Milestone II       Church Creek Rd (Hyatt), Cambridge to Taylors Island
   Phase IV, Milestone III —     Chesapeake Bay Crossing Taylors Island to Cove Point
   Phase V, Milestone IV         Western Shore Land Segment - Cove Point to Patuxent River,


The first two phases had already been completed through an earlier cooperative agreement.

        20.    The Navy agreed to pay MdBC as these milestones were reached. In addition.

“[ijnterim payments may be requested monthly by [MdBC] for reimbursement of the [Navy's]

share of incurred costs.”

        21.    The Fiber Optic Agreement specified that federal funds and funds provided by

MdBC “are to be used solely for Agreement-related costs incurred that are reasonable in nature

and amount, and allocable to this Agreement.”

        22.    MdBC acted as a general or prime contractor on the Pax River Project. BAU

worked as a subcontractor for MdBC on portions of the Pax River Project.

        23.    The Defense Finance and Accounting Service (“DFAS”) provides payment

services for the Department of Defense and its subcomponents, including the Navy.           DFAS

received and paid all invoices from MdBC through interstate wires.         MdBC electronically

submitted all invoices to DFAS using the Wide Area Workflow System (“WAWF”) which

operates through interstate wires. The DFAS servers that received the WAWF invoices are located

in Ogden. Utah. The DFAS bank account that paid all of MdBC's invoices is located in Cleveland.

Ohio.

        24.    MITCHELL was primarily responsible for submitting invoices to the Navy.

MITCHELL either submitted the invoices through the WAWF system himself, or he directed

MdBC's Chief Financial Officer (“Employee 1”) to submit them. MITCHELL owed a duty to


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MdBC and to the Navy to submit invoices only for work that had been performed on the Pax River

Project or for work that it planned to perform.

       25.        MdBC's invoices were reviewed and approved for payment by the Government

Program Manager for the Pax River Project.

       26.        The Fiber Optic Agreement initially required the Navy to pay MdBC

$9,748,633.75. The Navy and MdBC modified the Fiber Optic Agreement several times from

2008 to 2018. and the Navy ultimately agreed to pay MdBC $24,527,278.70 under the Fiber Optic

Agreement.

       27.        MdBC completed its work under the Fiber Optic Agreement in 2020.

       28.        From 2014 to 2018, MdBC paid BAU approximately $9.5 million, including

approximately $6.8 million was for work on the Pax River Project. From 2014 to 2018. MdBC

also paid Pro Comm more than $500,000.00.

                                           The Conspiracy

       29.        From in and around July 2014 until 2018. in the District of Mary land and elsewhere.

                              WILLIAM PATRICK MITCHELL and
                                  WAYNE I. KACHER, JR.

knowingly and willfully conspired and agreed together with other co-conspirators known and

unknown to members of the Grand Jury to commit offenses against the United States, namely, to

commit violations of:

             a.   18 U.S.C. §§ 1343 and 1346 by knowingly devising and intending to devise a

                  scheme and artifice to defraud MdBC of the intangible right to honest services of

                  MITCHELL, through bribery, kickbacks and the concealment of material

                  information, (hereafter “Scheme and Artifice to Defraud”), and to execute or further

                  the scheme and artifice to defraud, did transmit and cause to be transmitted by


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                  means of wire communication in interstate commerce writings, signs, signals, and

                  sounds: and

             b.   18 U.S.C. § 666. whereby MITCHELL, as an agent of an organization receiving

                  more than $10,000 in federal assistance, did corruptly solicit, demand, accept and

                  agree to accept a thing of value, intending to be influenced and rewarded in

                  connection with a transaction and series of transactions of MdBC involving

                  $5,000.00 or more, and whereby KACHER corruptly gave, offered, and agreed to

                  give a thing of value to MITCHELL with the intent to influence and reward an

                  agent of an organization receiving more than $10,000 in federal assistance in

                  connection with a transaction and series of transactions of MdBC involving $5,000

                  or more.

             The Object of the Conspiracy and the Scheme and Artifice to Defraud

       30.        The object of the Conspiracy and the Scheme and Artifice to Defraud was for

MITCHELL to secretly use his official position at MdBC to enrich himself by soliciting and

accepting gifts, payments, and other things of value from KACHER and BAU in exchange for

favorable official action, and for KACHER to enrich himself by secretly obtaining favorable

official action for himself. BAU. and Pro Comm through corrupt means.

    The Manner and Means of the Conspiracy and the Scheme and Artifice to Defraud

       31.        From July 2014 to 2018. MITCHELL submitted, or caused MdBC to submit.

invoices to the Navy, purportedly for work on the Pax River Project, which caused the Navy to

pay MdBC. In fact, MITCHELL used funds from the Navy not only to pay for work on the Pax

River Project, but also to pay funds to BAU, disguised as payments for work performed by BAU,




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or to be performed by BAU, which MITCHELL could then direct KACHER to pay to. and for

the benefit of. MITCHELL personally.

        32.      To make and conceal the payments MITCHELL received from KACHER and

BAD, once BAU received invoice payments from MdBC, KACHER purchased bank cashier's

checks made payable to KACHER or to cash, which KACHER then endorsed and signed over to

MITCHELL, and which MITCHELL then deposited into his personal bank account.

Specifically:

              a. On June 30.2014. MITCHELL submitted or caused MdBC to submit two invoices

                 to the Navy (Invoice Nos. 23 and 24A) totaling $433,796.27 for work on Phase III.

                 Milestone II and Phase V. Milestone IV of the Pax River Project, which the Navy.

                 through DFAS, paid on July 30. 2014.

              b. On July 30, 2014, KACHER submitted or caused BAU to submit two invoices to

                 MdBC: Invoice No. 1532 for $ 115.000.00 and Invoice No. 1533 for $ 135.000.00.

                 Both invoices were for work BAU performed or was to perform on the Pax River

                 Project.

              c. On August 1,2014, MITCHELL made or caused MdBC to make two payments to

                 BAU totaling $250,000.00.

              d. On August 1, 2014, KACHER obtained a check for $25,000.00 drawn on BAU's

                 M&T Bank account ending in x8534 and KACHER made the check payable to

                 cash. KACHER endorsed the check and used it to purchase an official check

                 (Official Check #3005897184) in the same amount and payable to KACHER.

                 KACHER endorsed the official check and delivered it to MITCHELL.




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  e. On August 1, 2014, MITCHELL negotiated the official check by depositing

       $17.000.00 into his personal M&T Bank account ending in x3748 and withdrawing

       $8,000.00 in cash.

  f.   On October 29, 2014, KACHER submitted or caused BAD to submit two invoices

       to MdBC: Invoice No. 1584 for $58,500.00 and Invoice No. 1584A for $97,500.00.

       Both invoices were for work BAD performed or was to perform on the Pax River

       Project.

  g. On October 30. 2014, MITCHELL obtained or caused MdBC to obtain a

       $156,000.00 loan advance on MdBC’s line of credit from Hebron Bank.

  h. On October 30, 2014. MITCHELL made or caused MdBC to make two payments

       to BAU totaling $156,000.00.

  i.   On October 31.2014. KACHER obtained a check for $20,000.00 drawn on BAU's

       M&T Bank account ending in x5867 and KACHER made the check payable to

       cash. KACHER endorsed the check and used it to purchase an official check

       (Official Check #3005678628) in the same amount and payable to KACHER.

       KACHER endorsed the official check and delivered it to MITCHELL.

  j.   On October 31,2014. MITCHELL negotiated the official check by depositing the

       entire amount into his personal M&T Bank account ending in x3748.

  k. On November 6, 2014, MITCHELL submitted or caused MdBC to submit two

       invoices (Invoice Nos. 28 and 29) to the Navy totaling $575,971.01 for Phase III,

       Milestone II and Phase V, Milestone IV of the Pax River Project, which the Navy,

       through DFAS, paid on November 20, 2014.              On November 24, 2014,




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        MITCHELL caused MdBC to repay the $156,000.00 loan advance from Hebron

        Bank.

   1.   On December 4. 2014, MITCHELL submitted or caused MdBC to submit an

        invoice (Invoice No. 30) to the Navy in the amount of $ 1,000.000 for work on Phase

        IV. Milestone III of the Pax River Project.

   m. On December 11, 2014, KACHER submitted or caused BAU to submit two

        invoices to MdBC: Invoice No. 1556 for $240,000.00 and Invoice No. 1556A for

        $10,000.00. Both invoices were for work BAU performed or was to perform on

        the Pax River Project.

   n. On December 11, 2014, MITCHELL obtained or caused MdBC to obtain a

        $250,000.00 loan advance on its existing line of credit with Hebron Bank.

   o. On December 11, 2014, MITCHELL made or caused MdBC to make two

        payments to BAU totaling $250,000.00.

   p. On December 11, 2014, KACHER obtained a check for $20,000.00 drawn on

        BAU's M&T Bank account ending in x8534 and KACHER made the check

        payable to KACHER. KACHER endorsed the check and used it to purchase an

        official check (Official Check #3006263574), payable to KACHER. in the same

        amount.   KACHER endorsed the official check and delivered it to MITCHELL.

   q. On December 12, 2014, MITCHELL negotiated the official check by depositing

        $15,000.00 into his personal M&T Bank account ending in x3748 and withdrawing

        $5,000.00 in cash.

  r.    On December 22, 2014, the Navy, through DFAS, paid Invoice No. 30 in the

        amount of $1 million.



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             s. On December 29, 2014, MITCHELL caused MdBC to repay the $250,000.00 loan

                  advance from Hebron Bank with the funds it received from the Navy.

       33.        To make and conceal the payments MITCHELL received from KACHER and

BAU, after BAU's receipt of payments from MdBC, MITCHELL caused BAU and KACHER

to use BAU funds to pay benefits to and for MITCHELL including payments for goods and

services. Specifically:

             a. On September 6. 2016, MITCHELL submitted or caused MdBC to submit an

                  invoice to the Navy (Invoice No. 32) for $1,300,000.00 for work on Phase IV.

                  Milestone III of the Pax River Project.

             b. On September 14, 2016, MITCHELL submitted or caused MdBC to submit an

                  invoice to the Navy (Invoice No. 33) for $2,000,000.00 for work on Phase IV,

                  Milestone III of the Pax River Project.

             c.   On September 28. 2016, KACHER submitted or caused BAU to submit Invoice

                  No. 2045 in the amount of $ 117,364.50 to MdBC.

             d. On October 13, 2016, the Navy paid Invoice Nos. 32 and 33 to MdBC.

             e. On October 14. 2016. at MITCHELL’S request, Eastern Shore Pole Buildings.

                  LLC prepared a contract for the installation of a detached garage at MITCHELL'S

                  Cambridge, Maryland residence for $36,419.00. MITCHELL signed the contract

                  on October 18, 2016.

             f.   On October 17, 2016, KACHER submitted or caused BAU to submit Invoice No.

                  2050 in the amount of $350,000.00 to MdBC for work on the Pax River Project.

             g- On October 17, 2016, MITCHELL made or caused MdBC to make a payment to

                  BAU in the amount $467,364.50.



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   h. On October 17, 2016, MITCHELL caused KACHER to pay $21,721.80 to

        Eastern Shore Pole Buildings, which was 60% of the purchase price that

        MITCHELL owed for the construction of the detached garage on MITCHELL’s

        property.

   i.   On November I, 2016. KACHER submitted or caused BAU to submit Invoice No.

        2055 in the amount of $50,000.00 to MdBC for work on the Pax River Project.

  j.    On November 1,2016. MITCHELL made or caused MdBC to make a payment to

        BAU for $50,000.00.

   k. On November 8,2016. MITCHELL caused KACHER and BAU to pay $3,000.00

        to Peninsula Cabinets for work performed at MITCHELL’s residence in

        Cambridge. Maryland.

   I.   Also on November 8. 2016, MITCHELL caused KACHER and BAU to pay

        $6,800.00 to Value Carpet for flooring and other services performed at

        MITCHELL’s residence in Cambridge, Maryland.

   m. On November 18. 2016, MITCHELL caused KACHER and BAU to pay

        $10,972.61 to Delmarva Power Sports to purchase an all-terrain vehicle for

        MITCHELL.

   n. Also on November 18. 2016. MITCHELL caused KACHER and BAU to pay

        $14,697.20 to Eastern Shore Pole Buildings for the remaining balance of the

        detached garage MITCHELL caused to be constructed at MITCHELL'S

        residence in Cambridge, Maryland.




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   o. On November 22, 2016, KACHER submitted or caused BAU to submit three

        invoices to MdBC:      Invoice No. 2022 for $68,311.62, Invoice No. 2060 for

        $600,000.00. and Invoice No. 2061 for $75,000.00.

   p. On November 23, 2016, MITCHELL made or caused MdBC to make three

        payments to BAU totaling $743,311.62.

   q. On February 8. 2017, MITCHELL submitted or caused MdBC to submit an

        invoice to the Navy (Invoice No. 35) for $1,665,127.00 for work on Phase IV,

        Milestone III of the Pax River Project.

   r.   On or about March 6, 2017. the Navy paid Invoice No. 35 to MdBC.

   s. On or about April 21, 2017, KACHER submitted or caused BAU to submit an

        Invoice to MdBC in the amount of $497,000.00 for work on the Pax River Project.

   t.   On April 21, 2017, MITCHELL made or caused MdBC to make a payment to

        BAU in the amount of $497,000.00.

   u. On April 27, 2017. KACHER sent MITCHELL a text message stating, “Good

        morning, do you think I could borrow 134k and pay you back?” MITCHELL later

        replied, “135k should be in your account within the hour two hours at latest.”

   v. On or about April 28. 2017, MITCHELL made or caused MdBC to loan

        KACHER and BAU $135,000.00.

   w. On May 25. 2017, MITCHELL sent a text message to KACHER stating, “John

        Deere is still showing a balance you sure [BAU employee] took care of it[.]”

   x. Previously, in March 2016, MITCHELL purchased a John Deere utility vehicle

        (“UTV”), Model XUV 825i S4 Multi-Passenger Gator, for $22,200.00.                To




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                 purchase the UTV, MITCHELL borrowed $17.778.18 from John Deere Financial.

                 The term of the loan was 60 months, and the interest rate on the loan was 7.5%.

            y. On May 26, 2017. MITCHELL sent a text message to KACHER stating, “Is John

                 deer [sic] all straight[.]" KACHER replied. “John Deere payment done ... in the

                 Amt of$l 5,215.75.”

      34.        To further make and conceal the payments MITCHELL received from KACHER

and BAU. KACHER would surreptitiously provide cash and other benefits directly to

MITCHELL. For example:

            a. On April 27, 2016. KACHER sent MITCHELL a text message stating, “Ell stop

                 over and hide the package somewhere at the farm.” Later that day, KACHER sent

                 a text message to MITCHELL, stating “Package is in the tractor under the floor

                 mat.”

            b. MITCHELL replied to the text message stating, “Thanks for the package buddy.”

            c. KACHER replied, “Thank you for all you do! Not to mention the awesome

                 friendship.”

            d. On May 25, 2017, KACHER sent MITCHELL a text messaged stating “I’ll send

                 you a Fed Ex package today.” MITCHELL replied, “Not sure when Fm headed

                 back but please send package.”

            e. Later on May 25th. KACHER sent MITCHELL a text message stating, “Walking

                 in to Fed Ex, what's the address.” MITCHELL replied with his address in

                 Sarasota, Florida. KACHER responded. “Got it” and “Sending 5.”

            f.   On May 26. 2017, KACHER sent a text message to MITCHELL stating.

                 “Sending second Fed Ex now, didn't want to put 5 in one package.” KACHER



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                  later wrote in a text message, “Did you get first package.” MITCHELL responded.

                  “Yes sir thank you.” KACHER replied, “Second will be there Monday by 10:30.”

       35.        To further conceal the payments MITCHELL received from KACHER and BAU,

MITCHELL falsely represented to special agents with the Federal Bureau of Investigation

(“FBI") that the payments were not kickback payments.

                                             Overt Acts

       36.        In furtherance of the Conspiracy and the Scheme and Artifice to Defraud.

MITHELL and KACHER engaged in the following overt acts:

             a. On August 1,2014, MITCHELL made or caused MdBC to make two payments to

                  BAU totaling $250,000.00: Check No. 4786 in the amount of $135,000.00 and

                  Check No. 4787 in the amount of $115,000.00.

             b. On August 1, 2014, KACHER endorsed Official Check #3005897184 and

                  delivered it to MITCHELL.

             c.   On October 30, 2014. MITCHELL made or caused MdBC to make two payments

                  to BAU totaling $156,000.00: Check No. 6692 in the amount of $240,000.00 and

                  Check No. 6693 in the amount of $ 10.000.00.

             d. On October 31, 2014, KACHER endorsed #3005678628 and delivered it to

                  MITCHELL.

             e. On December 11, 2014. MITCHELL made or caused MdBC to make two

                  payments to BAU totaling $250,000.00.

             f.   On or about December 12,2014. KACHER endorsed Official Check #3006263574

                  to MITCHELL in the amount of $20,000.00.




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         g. On October 17, 2016, MITCHELL made or caused MdBC to make a payment to

              BAU in the amount $467,364.50.

         h. On or about October 17,2016. KACHER paid or caused BAU to pay Eastern Shore

              Pole Buildings $21,721.80 for MITCHELL’s benefit.

         i.   On November 1.2016. MITCHELL made or caused MdBC to make a payment to

              BAU for $50,000.00.

         j.   On or about November 8. 2016. KACHER paid or caused BAU to pay Peninsula

              Cabinets $3,000.00 for MITCHELL’s benefit.

         k. On or about November 8. 2016. KACHER paid or caused BAU to pay Value

              Carpet $6,800.00 for MITCHELL’s benefit.

         1.   On or about November 18. 2016. KACHER paid or caused BAU to pay Delmarva

              Power Sports $10,972.61 for MITCHELL’s benefit.

         m. On or about November 18. 2016. KACHER paid or caused BAU to pay Eastern

              Shore Pole Buildings $14,697.20 for MITCHELL’s benefit.

         n. On November 23, 2016, MITCHELL made or caused MdBC to make three

              payments to BAU totaling $743,311.62.

         o. On or about April 24, 2017, MITCHELL made or caused MdBC to make a

              payment to BAU in the amount of $497,000.00.

         p. On or about April 28, 2017, MITCHELL made or caused MdBC to make a

              payment to BAU in the amount of $ 135,000.00.

         q. On or about May 26, 2017, KACHER paid or caused BAU to pay John Deere

              Financial $ 15,215.75 for MITCHELL’s benefit.

18U.S.C. §371



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                                            COUNT 2
                                    Honest Services Wire Fraud

              The allegations in paragraphs 1 through 28 and 31 through 35 of Count 1 are

incorporated herein by reference.

       2.     On or about December 12, 2014, in the District of Maryland and elsewhere, the

defendant

                             WILLIAM PATRICK MITCHELL

for the purpose of executing the Scheme and Artifice to Defraud did transmit and cause to be

transmitted by means of wire communication in interstate commerce writings, signs, signals, and

sounds, namely by negotiated Official Check # 3006263574 when MITCHELL deposited

$15,000.00 into his personal M&T Bank account and withdrawing $5,000.00 in cash, Official

Check #3006263574 transited from an M&T Bank branch in Maryland through an interstate wire

to M&T Bank's server location in Buffalo, New York.

18 U.S.C. §§ 1343, 1346
18U.S.C. §2




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                                      COUNTS 3 through 7
                                    Honest Services Wire Fraud

                 The allegations in paragraphs 1 through 28 and 31 through 35 of Count 1 are

incorporated herein by reference.

       2.        On or about the dates set forth below, in the District of Maryland and elsewhere.

the defendants

                            WILLIAM PATRICK MITCHELL and
                                 WAYNE I. KACHER, JR.

for the purpose of executing the Scheme and Artifice to Defraud did transmit and cause to be

transmitted by means of wire communication in interstate commerce writings, signs, signals, and

sounds, namely:

 Count      Date of Wire               Description of Wire Transmission
 3          September 6, 2016          MITCHELL submitted and caused to be submitted
                                       Invoice No. 32 in the amount of $1,300,000.00 from MdBC
                                       to DFAS and the Navy through the WAWF system: the
                                       invoice was transmitted by interstate wire from MdBC in
                                       Maryland to the DFAS servers in Ogden. Utah.

4           September 14. 2016         MITCHELL submitted or caused to be submitted Invoice
                                       No. 33 in the amount of $2,000,000.00 from MdBC to
                                       DFAS and the Navy through the WAWF system; the
                                       invoice was transmitted by interstate wire from MdBC in
                                       Maryland to the DFAS servers in Ogden, Utah.

 5          October 13, 2016           DFAS, on behalf of the Navy, paid Invoice Nos. 32 and 33
                                       by transmitting funds from its bank account in Cleveland.
                                       Ohio to MdBC's M&T bank account ending in xl664.

6           February 8,2017            MITCHELL submitted and caused to be submitted
                                       Invoice No. 35 in the amount of $1,655,127.00 from MdBC
                                       to DFAS and the Navy through the WAWF system; the
                                       invoice was transmitted by interstate wire from MdBC in
                                       Maryland to the DFAS servers in Ogden, Utah.




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7         March 6, 2017     DFAS, on behalf of the Navy, paid Invoice No. 35 by
                            transmitting funds from its bank account in Cleveland,
                            Ohio to MdBC’s M&T bank account ending in xl664.


18U.S.C. §§ 1343, 1346
18U.S.C. §2




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                                     COUNTS 8 through 14
                       Bribery concerning programs receiving federal funds

         1.       The allegations in paragraphs 1 through 28 of Count 1 are incorporated herein by

reference.

       2.         In each of calendar years from 2014 through 2018. MdBC received more than

$10,000.00 in federal assistance arising from the Pax River Project FiberOptic Agreement, and in

each of calendar years 2014 through 2018. MITCHELL was an agent of MdBC.

       3.         On or about the dates set forth below, in the District of Maryland and elsewhere.

defendant

                                 WILLIAM PATRICK MITCHELL

an agent of MdBC, did corruptly solicit, demand, accept and agree to accept something of value

from KACHER and BAU, intending to be influenced and rewarded in connection with any

business, transaction and series of transactions of MdBC involving $5,000.00 or more.

 Count        Date                 Thing of Value

 8            December 12, 2014    Official Check # 3006263574 in the amount of $20,000.00

 9            October 17, 2016     Payment to Eastern Shore Pole Buildings for $21,721.80

 10           November 8. 2016     Payment to Peninsula Cabinets for $3,000.00

 11           November 8, 2016     Payment to Value Caipet for $6,800.00

 12           November 18. 2016    Payment to Delmarva Power Sports for $10,972.61

 13           November 18, 2016    Payment to Eastern Shore Pole Buildings for $14,697.20

 14           May 26, 2017         Payment to John Deere Financial for $15,215.75



18 U.S.C. § 666(a)(1)(B)
18U.S.C. §2



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                                 COUNTS 15 through 20
                   Bribery Concerning Programs Receiving Federal Funds

                The allegations in Paragraphs 1 and 2 of Counts 8 through 14 are incorporated

herein by reference.

       2.       On or about the dates set forth below, in the District of Maryland and elsewhere.

the defendant

                                   WAYNE I. KACHER, JR.

corruptly gave, offered, and agreed to give a thing of value to MITCHELL, with the intent to

influence and reward MITCHELL in connection with any business, transaction and series of

transactions of MdBC involving $5,000.00 or more.

 Count      Date                 Thing of Value

 15         October 17, 2016     Payment to Eastern Shore Pole Buildings for $21,721.80

 16         November 8, 2016     Payment to Peninsula Cabinets for $3,000.00

 17         November 8. 2016     Payment to Value Carpet for $6,800.00

 18         November 18, 2016    Payment to Delmarva Power Sports for $ 10.972.61

 19         November 18, 2016    Payment to Eastern Shore Pole Buildings for $14,697.20

 20         May 26, 2017         Payment to John Deere Financial for $ 15,215.75



18 U.S.C. § 666(a)(2)
18 U.S.C. §2




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                               COUNTS 21 through 23
               Embezzlement Concerning Programs Receiving Federal Funds

               The allegations in paragraphs I through 28 of Count I are incorporated herein by

reference.

       2.      MITCHELL was authorized to use an MdBC business credit card for MdBC

business, including "for travel, lodging, meals and business expenses approved by the Board of

Directors." MITCHELL’S MdBC credit card was a VISA card ending in x6714 and was issued

by M&T Bank.

       3.     MITCHELL, however, frequently used his MdBC credit card for personal

purchases. MITCHELL also used MdBC checks to pay for personal purchases.

       4.     MITCHELL identified to the accounting department at MdBC some personal

expenses that MITCHELL paid for with his business credit card that were to be deducted from

MITCHELL'S yearly bonus; however. MITCHELL falsely claimed that many of his personal

expenses were for "marketing" and other business expenses that MITCHELL incurred on behalf

of MdBC.

       5.     All MdBC employees who received company credit cards were required to provide

receipts to support all purchases on the credit card. MITCHELL, however, did not always provide

receipts for his purchases, and in one case. MITCHELL created a false and fictitious receipt to

conceal a personal purchase on his MdBC credit card.

       6.     From April 8. 2016 until the Board of Directors terminated his employment in

January 2019. MITCHELL used his MdBC credit card and MdBC bank accounts to pay for more

than $160,000.00 in personal expenses.

       7.     From April 8, 2016 to his termination in January 2019, MITCHELL charged at

least $66,604.00 on MdBC credit card to pay for docking fees, maintenance, and sound and


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lighting enhancements for his personal boat. “Reelin Fiber,” which MITCHELL docked at two

marinas in Sarasota. Florida. MITCHELL did not identify to MdBC any of these expenses as

“personal.”

       8.      In 2017 and 2018, MITCHELL and another MdBC employee, Employee 1, spent

more than $20,000.00 of MdBC funds for MITCHELL and his family and Employee 1 and his/her

family to vacation in Costa Rica in February 2018.

       9.     MITCHELL and Employee 1 charged the Costa Rica trip expenses against

multiple MdBC credit cards, and they also used MdBC funds by writing an MdBC check payable

to “cash" in the amount of $2,500.00 which they cashed and spent.

       10.    MITCHELL and Employee 1 did not identify any of these expenses to MdBC as

“personal."

       11.    In each twelve-month period listed below, MdBC received more than $10,000 in

payments from the federal government through the Fiber Optic Agreement.

                                         The Charges

       12.    In each twelve-month period set forth below, in the District of Maryland and

elsewhere, defendant

                             WILLIAM PATRICK MITCHELL

who was an agent of an organization, namely MdBC, receiving federal benefits in excess of

$10,000 in the twelve-month periods set forth below, embezzled, stole, obtained by fraud.

knowingly converted to the use of any person other than the rightful owner, and intentionally

misapplied property of MdBC worth at least $5,000.00:




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 Count          Year                              Misapplied Funds

21              April 8, 2016-April 7,2017        $65,024.00

22              April 8, 2017-April 7,2018        $66,264.00

23              April 8, 2018-April 7,2019        $35,702.00



18 U.S.C. § 666(a)(1)(A)
18U.S.C. §2




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                                 FORFEITURE ALLEGATION

        The Grand Jury for the District of Maryland further finds that:

        1.      Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendants that the United States will seek forfeiture as part of any sentence in accordance with 18

U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853(p), and 28 U.S.C. § 2461(c) as a result of a defendant's

conviction under any of the offenses set forth in the Superseding Indictment.

       2.       Upon conviction of any of the offenses set forth in Counts One through Fourteen

or Twenty-One through Twenty-Three of this Superseding Indictment, the defendant

                              WILLIAM PATRICK MITCHELL

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any and all property, real or personal, which constitutes or is derived from proceeds traceable to

such offense.

       3.       Upon conviction of any of the offenses set forth in Counts One, Three through

Seven, or Fifteen through Twenty of this Superseding Indictment, the defendant

                                   WAYNE I. KACHER, JR.

shall forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c),

any and all property, real or personal, which constitutes or is derived from proceeds traceable to

such offense.

       4.       The property to be forfeited includes but is not limited to a money judgment in an

amount equal to the total amount of any property, real or personal, which constitutes or is derived

from proceeds traceable to any conviction under the preceding paragraph.

       5.       If any of the above-described property, as a result of any act or omission of a

defendants:



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                a. cannot be located upon the exercise of due diligence;

                b. has been transferred, sold to, or deposited with a third party;

                c. has been placed beyond the jurisdiction of the Court;

                d. has been substantially diminished in value; or

                e. has been commingled with other property which cannot be divided

                    without difficulty.

 it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 28 U.S.C.

 § 2461(c), to seek forfeiture of any other substitute property of the defendants up to the value of

 the forfeitable property described above.

 18 U.S.C. §981(a)(1)(C)
 21 U.S.C. § 853(p)
 28 U.S.C. § 2461(c)




                                                      Stephen M. Schenning
                                                      Acting United States Attorney

 A TRUE BILL:
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SIGNATURE REDACTED
 horeperson                                           Date




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